Case 2:04-cr-20512-SH|\/| Document 44 Filed 07/01/05 Page 1 of 2 Page|D 41

 

IN THE UN;TED sTATES DIsTRiCT COURT ` ay § o.q
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JUL __
WESTERN DIVISION ' AH !D: l, 9
UNITED sTATEs oF AMERICA, ` litem HSH_ i§"§'m%
MD OF }W ;E@M_BS
Plaimirf, ` `
V. ‘ No. 04-20512 B
MUJAHID MUHAMMAD,
Defendant.
0RDER FoR TRANSCRIPT

 

On May 26, 2005, a suppression hearing was held in the above-styled matter. It is necessary
to have a transcript of the proceedings in order for the Court to properly rule on the pending motion
to reconsider its order on the Defendant's motion to suppress

It is therefore ORDERED that a transcript of the suppression hearing be prepared by the court
reporter, Mark Dodson. The Clerk of Court is directed to forward a copy of this order to the offices
of the court reporter.

ENTERED this ’S§t’ day 2005.

{

. DA IEL BREEN
D STATES DISTRICT JUDGE

This dochent entered on the docket sheet in com l‘ nce
w\th Rule 55 and!or Szlbl FHCrP on _l_(@_£_" ~

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:04-CR-205 12 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listcd.

 

 

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Honorable J. Breen
US DISTRICT COURT

